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                    IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF PUERTO RICO


  IVETTE M. MARTÍNEZ GONZÁLEZ, ET
               ALS.,

                    Plaintiffs

                         v.

     CATHOLIC SCHOOLS OF THE
   ARCHDIOCESES OF SAN JUAN THE
 PROVISIONS OF PENSIONS PLAN, et als.                 CIVIL No. 16-2077 (GAG)
                                                                16-2318
                  Defendants

 NORMA CARDOZA-ESTREMERA, ET AL.,
            Plaintiffs,

                         v.

    COLEGIO PADRE BERRIOS, ET AL.,
             Defendants

          NOTICE OF APPEARANCE & MOTION REQUSTING ORDER

TO THE HONORABLE COURT:

      COME NOW Defendants Superintendence of the Catholic Schools of the

Archdioceses of San Juan (hereinafter “the Superintendence”) and Samuel Soto, through

counsel and respectfully STATE and PRAY as follows:



      1. The Superintendence and Mr. Soto have retained the undersigned as counsel in

      the case at bar.




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      2. The undersigned counsel will be reviewing the file to verify the pleadings,

      Motions and pending discovery matters and needs a period of time of twenty (20)

      days, until January 3, 2018, to do so.

      3. We understand that the Defendants’ prior counsel will deliver the

      corresponding files in the following days.

      4. Pursuant to the abovementioned, Defendants request that the Court extend any

      pending deadline for a period of twenty (20) days, until January 3, 2018.



      WHEREFORE, Defendants respectfully request that the Court take notice of the

above mentioned information, allow the undersigned to appear as counsel for

Defendants and extend any pending deadline for a period of twenty (20) days, until

January 3, 3018.



      RESPECTFULLY SUBMITTED.

      In San Juan, Puerto Rico, this 13th day of December 2017.

      WE HEREBY CERTIFY that on this same date we electronically filed the foregoing

with the Clerk of the Court using the CM/ECF system. Notice of this filing will be sent

all parties by operation of the Court’s electronic filing system. Parties may access this

filing through the Court’s system.



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                     s/Pedro A. Busó García
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